            Case 1:17-cv-01938-CRC Document 13 Filed 10/19/18 Page 1 of 2



                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


  PUBLIC CITIZEN, INC.,

                           Plaintiff,

                    v.                                 Civil Action No. 17-CV-1938 (CRC)

  UNITED STATES DEPARTMENT
  OF LABOR,


                           Defendant.


                                        JOINT STATUS REPORT

          Pursuant to the Court’s order of July 30, 2018, plaintiff Public Citizen, Inc. and defendant

United States Department of Labor (“DOL”) (collectively, “the Parties”) submit this Joint Status

Report.

                                           BACKGROUND

          On September 22, 2017, plaintiff filed a complaint under the Freedom of Information Act

(“FOIA”). On October 25, 2017, defendant answered. Plaintiff sought records from the Office of

the Assistant Secretary for Policy (ASP), the Occupational Safety and Health Administration

(OSHA) and the Mine Safety and Health Administration (MSHA).

                         REPORT ON THE PROGRESS OF PRODUCTION

          With respect to ASP, DOL released all responsive documents by December 15, 2017. With

respect to MSHA, there were three productions of responsive documents, and DOL provided all

responsive MSHA documents by May 24, 2018. With respect to OSHA there have been seven

rolling releases of OSHA documents. The parties have agreed that DOL shall continue to review
         Case 1:17-cv-01938-CRC Document 13 Filed 10/19/18 Page 2 of 2



approximately 500 pages of OSHA records per month and produce responsive pages, with the next

production occurring on November 15, 2018.

       Defendant has agreed to produce email records with the names of attachments—not the

attachments themselves, which will be produced only as requested by plaintiff.

       In light of the above, the Parties request to file another Joint Status Report on

March 22, 2019.

Dated: October 19, 2018                     Respectfully submitted,

    /s/                _
SEAN M. SHERMAN                             JESSIE K. LIU
(D.C. Bar No. 1046357)                      D.C. Bar # 472845
ADINA H. ROSENBAUM                          United States Attorney
(D.C. Bar No. 490928)                       District of Columbia
Public Citizen Litigation Group
1600 20th Street, NW                        DANIEL VAN HORN
Washington, DC 20009                        D.C. Bar # 924092
(202) 588-7739                              Chief, Civil Division
ssherman@citizen.org
                                            ____Scott Leeson Sroka___
                                            SCOTT LEESON SROKA
Attorneys for Plaintiff                     Member of New York Bar
                                            Assistant United States Attorney
                                            555 Fourth Street, N.W.
                                            Washington, D.C. 20530
                                            (202) 252-7113
                                            Scott.Sroka@usdoj.gov

                                            Attorneys for Defendant




                                               2
